Case 2:17-cv-00787-JRG-RSP Document 10 Filed 05/09/18 Page 1 of 2 PageID #: 168




                          HE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,

                        Plaintiff,
               v.                                        Civil Action No. 2:17-cv-00787

STEWART INFORMATION SERVICES                              JURY TRIAL DEMANDED
CORPORATION,

                       Defendant.

                                JOINT NOTICE OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Symbology Innovations, LLC (“Symbology”) and Defendant Stewart Information Services

Corporation. (“Stewart”), pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, to

dismiss all of Symbology’s claims WITH PREJUDICE with each party to bear its own costs and

attorneys’ fees. The defendant has not answered or filed a motion for summary judgment, therefore

no order is required under the Rule.
Case 2:17-cv-00787-JRG-RSP Document 10 Filed 05/09/18 Page 2 of 2 PageID #: 169




Dated: May 9, 2018                                   Respectfully submitted,


                                                     /s/ Thomas C. Wright
                                                     Thomas C. Wright
                                                     Texas Bar No. 24028146
                                                     Alex J. Whitman
                                                     Texas Bar No. 24081210
                                                     Cunningham Swaim, LLP
                                                     7557 Rambler Road, Suite 400
                                                     Dallas, TX 75231
                                                     Telephone: (214) 646-1495
                                                     Fax: (214) 613-1163
                                                     twright@cunninghamswaim.com
                                                     awhitman@cunninghamswaim.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     SYMBOLOGY INNOVATIONS, LLC

                                                     -and-


                                                     /s/ Thomas N. Tarnay
                                                     Thomas N. Tarnay
                                                     Texas Bar No. 24003032
                                                     Sidley Austin, LLP
                                                     2021 McKinney Avenue, Suite 2000
                                                     Dallas, TX 75201
                                                     Telephone: (214) 981-3300
                                                     Facsimile: (214) 981-3400

                                                    ATTORNEYS FOR DEFENDANT
                                                    STEWART INFORMATION SERICES
                                                    CORPORATION

                                 CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are
  being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
  5(a)(3) on this 9th day of May, 2018.

                                                     /s/ Thomas C. Wright
                                                     Thomas Wright
